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                                 UNITED STATES DISTRICT COURT
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10                              EASTERN DISTRICT OF CALIFORNIA

11 GERALD CARLIN, JOHN RAHM, PAUL                         CASE NO. 1:09-CV-0430 AWI-EPG
   ROZWADOWSKI and DIANA WOLFE,
12 individually and on behalf of themselves
   and all other similarly situated,                     ORDER GRANTING UNOPPOSED
13                                                       MOTION TO PROVIDE SUPPLEMENTAL
                         Plaintiffs,                     NOTICE TO SETTLEMENT CLASS
14                                                       MEMBERS IN FEDERAL MILK
                  v.                                     MARKETING ORDER 30
15
   DAIRYAMERICA, INC., and
16 CALIFORNIA DAIRIES, INC.                               (Doc. No. 565)

17                          Defendants

18
            On September 14, 2018, this Court granted preliminary approval of the Settlement
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     Agreement and approved Plaintiffs’ proposed notice plan. Doc. No. 559. The comprehensive
20
     notice program includes (1) direct mailed notice of the settlement to Settlement Class Members
21
     and (2) publication notice in two widely-circulated magazines directed to dairy farmers and on a
22
     publicly available website. Id. at 16.
23
            To provide direct mailed notice, the Claims Administrator, Rust Consulting, obtained
24
     contact and production information for Settlement Class Members from the eleven Federal Milk
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     Marketing Orders (“FMMOs”) that were operating during the Class Period. Doc. No. 563.
26
     Plaintiffs have informed the Court that Rust Consulting requested that, for each Settlement Class
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     Member, the FMMOs provide the mailing address and the volume of raw milk sales priced
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 1 according to a FMMO. In response, each FMMO produced all their responsive and available
 2 data. Rust Consulting processed the FMMO data, prepared the mailings, and sent notices to
 3 83,596 Settlement Class Members on November 27, 2018. The notices enclosed individualized
 4 claim forms. Each such claim form purported to contain the volume of raw milk priced according
 5 to a FMMO that the farmer sold during the Class Period (January 1, 2002 through April 30,
 6 2007). Doc. No. 565.
 7          Plaintiffs have now informed the Court that one of the eleven Federal Milk Marketing
 8 Orders only possesses relevant data for part of the Class Period. Specifically, due to hardware
 9 and software changes to its computer system, the Upper Midwest Marketing Order (also known
10 as FMMO 30) can only access the volumes of raw milk sales by individual dairy farmers during
11 the period January 2006 through April 2007.1 As a result, the claim forms mailed to Settlement
12 Class Members who sold raw milk priced according to FMMO 30 only contain the volume of
13 raw milk sales for that limited 16-month period, rather than the entire 64-month Class Period.
14 These Settlement Class Members comprise approximately 24% of the Settlement Class.
15          Plaintiffs propose a supplemental notice be sent to these class members, allowing each
16 member to choose to either a) accept an estimated volume of raw milk sales, based on the
17 available data, to be used in calculating their portion of the settlement, or b) dispute the estimate
18 and submit data demonstrating the class member’s individual sales. See Doc. No. 565 and
19 attached Exhibits A and B. Plaintiffs contend this supplemental notice will not alter any other
20 timelines in this case. Defendant does not oppose Plaintiffs’ motion.
21          The Court has reviewed the proposal, and finds it in the best interest of the affected class
22 members.
23                                                ORDER
24          Based on the foregoing, IT IS HEREBY ORDERED that:
25      1. Plaintiffs’ unopposed motion is taken under submission as of today and is GRANTED,
26          and the January 14, 2019 hearing is vacated;
27      2. Within seven days of this Order,
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 1             a. the Supplemental Notice and the Claim Form to Settlement Class Members who
 2                 sold raw milk priced according to the Upper Midwest Federal Milk Marketing
 3                 Order 30 will be sent, in accordance with Exhibits A and B to the motion; and
 4             b. the settlement website will be updated to provide information related to this
 5                 issue and the Supplemental Notice.
 6    3. All other dates related to settlement class notice and final approval of settlement remain
 7          unchanged as set out in the November 2, 2018 Order (ECF No. 564).
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 9 IT IS SO ORDERED.
10 Dated:    December 13, 2018
                                               SENIOR DISTRICT JUDGE
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